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 8                                  UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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     ANITA GONZALEZ,                                      CASE NO. CV F 13-0086 LJO JLT
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                           Plaintiff,                     ORDER TO ASSIGN ACTION TO U.S.
12                                                        MAGISTRATE    JUDGE   FOR    ALL
                                                          PURPOSES AND TO ORDER FILING AND
13                                                        SERVICE OF AMENDED COMPLAINT
            vs.
14                                                        (Docs. 11-13.)
15   CITY OF McFARLAND, et al.,
16                     Defendants.
     ___________________________/
17
18          All parties have consented to the conduct before a United States Magistrate Judge of all further
19   proceedings in this action, including trial and entry of judgment, pursuant to 28 U.S.C. §636(c)(1).
20   Accordingly, this Court REASSIGNS this action to United States Magistrate Judge Jennifer L.

21   Thurston for all further proceedings. Further papers shall bear the new case number CV F 13-0086
     JLT.
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            Based on plaintiff’s response to this Court’s March 7, 2013 order, this Court ORDERS
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     plaintiff, no later than April 4, 2013, to file and serve an amended complaint. Based on the
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     anticipated amended complaint, this Court VACATES the April 17, 2013 hearing on the defense
25   motions to dismiss and strike set before U.S. District Judge Lawrence J. O’Neill. If plaintiff fails to
26   file and serve an amended complaint, defendants may reset the motions to dismiss and to strike before
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         Case 1:13-cv-00086-JLT Document 14 Filed 03/19/13 Page 2 of 2




     U.S. Magistrate Judge Thurston.
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 4   IT IS SO ORDERED.
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        Dated:                    March 19, 2013        /s/ Lawrence J. O’Neill
 6                                                 UNITED STATES DISTRICT JUDGE
            DEAC_Signature-END:




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